                                                                                                       Monolines Ex. 53
Case:17-03283-LTS Doc#:18815-11 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                                                                                      Desc:
                        Monolines Ex. 53 Page 1 of 2
                                                                                                                                      Reservado pa.rael oficiial dearchNo I ReservedforthefilingoHicvr
   DEPARTAMENTO DE ESTADO
   GOBIERNO DE PUERTO RICO                                                                                                            Sello de lix:hll y hon,,
   DECLARACION DE FINANCIAMIENTO                                                                                                      Date and time stamp;
   FINANCING STATEMENT
                                                                                                                                      Nu.mero de ~istro:
   Favor de seguir cuidadosamente las instrucciones indicadas al dorso de esta form.a                                                 Registration number:
   Pie,aJ;ejollow ca.re.fall} the instn«:tions indicated 011 the reverse side afthisform.

   Para   aiiadirmis infonnacion utilico la hojado opendice UCC-JA-PR
   To add more information use the addendum form UCC-rA-PR

          ; A. DEVOLVER. COPIA A: I RETURN COPY TO: (N-cmbre y direcw.'in. postal I Name and mollingaddress.J
            Government Development Bank for Puerto Rico
            Att. Legal Division
            PO Box42001
            San Juan, PR 00940-2001



      I. NOMBREDEL PRIMERDEUDOR/ FIRST DEBTOR'S NAME Completc ,otoonoom1=c,ab)l1n,m om,,oo,namef•or!>J
                                                                         Segundo apellidD / Sieamd rurnarruii                Prim.er Nombre I fint Name              S~gl+f!do Nombn:: I Mkldi• nome               Sulijo/Sufflr
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             Puerto Rico Highways and                                    Transportation Authority

      b-. No-mbre de la entid!ld f fnti Mme                                                                                                                                                                  C6digoP'o,tmJ/ZfpQidi!
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      2. NOMBRE DE DEUOOR AD!CIONAL I ADDITIONAL DEBTOR'S NAME Comple~ ,610 '" ,ombre(• • b)I ,,,,.,.,..,1,
                                                       Segundo 11pi::llidD / 5eco .rumame Primci: Nomb-re Flm/1/aml":     Sc:gundc.Nomb?-i, / Middle name
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      3. NOMBRE DEL ACREEDOR GARANTIZADO I SECURED PARTY'S NAMc Cao,plctc .01, on nomb" Co obl 11arenoo1y.,,,.nam,/oo,b                                                                                             SllfiJO f Suffix
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       n. Apellido dcl indivi-doo lndiiddual'skm~
                    Government Development                                     Bank for Puerto Rico

       b. Nombre de It iLmtidad f Entity name                                                                                                                         Estada/ Stale       hi-'>/ Coor,11)1    C6d'.go Pb'l-!!ta! / Zip Cade
       c. Di«iccilin fl()1111l.l / Mailingaddress                                                                                 Cittdad/Cit)'

                                                      POBox.42001                                                                                San Juan                   PR                                        00940

       4. ESTA DECLARACI N DE flNANCIAMIENTO CUBRE LAS SIGU!ENTES CLASES O ARTICULOS DE PROPIEDAD:
       THIS F/NANCJNG STATEMENT COVERS THc FOLLOWING TYPES OR ITEMS OF PROPERTY:
        Pursuant to the Loan Agreement and the Assignment and Security Agreement, both dated August 28, 2013, and executed
        between the Debtor and Secnred Party herein, this Financing Statement covers all revenues allocated to the Puerto Rico
        Highways and Transportation Authority ("PRHTA") by Acts No. 30 and 31 approved by the Legislature of the
        Commonwealth of Puerto Rico on Jnne 25, 2013, which shall be junior, inferior and subordinate in all respects to the
        outstanding bonds of the PRHTA issued pursuant to {i) Resolution No. 98-06, adopted by the PRHTA on February 26, 1998,
        as amended, and (ii) Resolution No. 13-41, adopted by the PRHTA on August 28, 2013.




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                                        Javier E. Ramos Hernandez , Oirector
          Juradorsuscrito,an temipor/Swomands ubscl"ibedbefereme by:

           Ejecutivo de la Autoridad de Carretera s y Transport aci6n de Puer
           Rico, casado, mayor de edad y residente de Bayamon; Jorge A. C
           D!az, Vicepresi dente Ejecutivo y Agente Fiscal del Banco Gub~~,~~~
           de Fomento para fuerto Rico, casado, Mayor de edad y reside.
           San Juan, Puerto Rico a quienes conozco personalm ente.


          Enlln:   San Juan, Puerto Rico
          Fr,chalo®"  28 de agosto de 201 3
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         ESTADO LIBRE ASOCIADO DE
Case:17-03283-LTS          Doc#:18815-11 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                                                                 Desc:
         PUERTO RICO
         DEPARTAMENTODEESTADO     Monolines Ex. 53 Page 2 of 2
                   Registro de Transacciones Comerciales
     ENMIENDA DECLARACION DE FINANCIAMIENTO
     FINANCING STATEMENT AMENDMENT
     SIGA INSTRUCCIONES / FOLLOW INSTRUCTIONS
     A. NOMBRE Y TELEFONO DE PRESENTANTE (opcional) / NAME & PHONE
     OF CONTACT AT FILER (optional)
     Leda. Marguilean Rivera Amill (7871729-6438
     B. CORREO ELECTR6NICO DE PRESENTANTE (opcional) / E-MAIL
     CONTACT AT FILER (optional)
     marguilean.rivera@bgfpr.com
     C. ENViE CONFIRMACl6N A: (nombre y direcci6n) / SEND
     ACKNOWLEDGMENT TO: (Name and Address)

          l(iovernment Development Bank for Puerto Rico                                                 7
           Att. Legal Division
           POBox42001
                                                                                                                        EL ESPACIO ARRIBA ES PARA USO DEL OFICIAL DE REGISTRO S6LAMENTE
          ~n Juan, PR 00940-2001                                                                        _J              THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY


    1a. NOMERO DE REGISmO DE DECLARACION DE FINANCIAMIENTO INICIAL/ INITIAL 1
    FINANCING STATEMENT FILE NUMBER                                           b.                                    □ ~;'._';.,n~~:1~:i~sc~~ci6~JE;n~rtf~?frRgEDEF~:R~~~6fl9 Tt;;
                                                                                                                         FINANCING STATEMENT AMENDMENT is to bo fifed /for record/ (or
                                                                                                                         recorded) in the REAL ESTATE RECORDS
                                                                                                                         Presentante: !!!l!!i!l Anejo de Enmienda (Forrna UCC3AdPR) ~ provea el
          2013004677                                                                                                     ncmbredel Deudcren el rengl6n 13
                                                                                                                         Filer. il1lil£ll Amendment Addendum /Form UCC3Ad) fillli provide Debtor's
                                                                                                                         name in item 13
     2.   D TERMINACION: La efectividad de la Declaraci6n de Financiamiento arrlba identificada es tt!!rminada con re$pecto al interes en la
              colateral del Acreedor Garantizado que autoriza esla Declaracion de Terminacion I TERMINATION: Effectiveness of the Financing Statement
              identified above is terminated with respect to the security interesl(s) of Secured Patty authori2ing this Termination Statement

     3.   D CESl6N (total o parcial): Provea nombre del Cesionario en renglon 7a o 7b ll su direcci6n en el rengl6n 7c y nombre del Cedente en el renglon
              9. Para cesi6n parcial, complete rengl6n 7 y 9 ll tambien indique la colateral afectada en el rengl6n 8 I ASSIGNMENT (full or partial): Provide
              name of Assignee in item 7a or 7b, f!llf!. address of Assignee in Item 7c il!1d. name of Assignor in item 9. For pattial assignment, complete items 7 end 9 f!!1S!.
              also indicate affected collateral in item 8

     4.   D CONTINUACl6N: La efectividad de la Declaraci6n de Financiamiento identificada arriba con respeclo al interes en la oolateral del Ac:credor Garantizadc que
              autoriza esta Declaraoi6n de Continuaci6n se continua par el perlodo adiclonal provlsto por ley / CONTINUA T/ON: Effectiveness of the Financing Statement
              Identified above with respect to the security interest(s) of Secured Party authorizing this Continuation Statement Is continued for the ad,:Jitiona/ period
              provided by law

     5. 0 CAM BIO DE INFORMACION DE PARTE: PARTY INFORMATION CHANGE:
          Marque una de las dos opciones: Check !2JJ1i1. of these two boxes:          i'. Marque !.!!ll! de estas tres opciones: AND Check !2JJ1i1. of these three boxes:
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     6. INFORMACION ACTUAL D                                                   Cambio do lnforrnacion de Parte- provea s61o 1!0. nornbre {Sao 6bl / CURRENT RECORD INFORMATION:
           Complete for Party fnformation
           6a. NOMBRE DE ENTIDAD /



     OR 6b. APELLIDO I INDIVIDUAL'S SURNAME                                                  NOMBRE I FIRST PERSONAL NAME                                                    NOMBRE I ADOITIONAL


     7. INF'OR1v1ACION CAMBIADA O AGREGAOA: Complete p.ara CesiQn o Cambfo ,de lnformaciCln de Parle - prove-a sole 11n nombre (7:a o 7b} (use nombre oompleto y exacto; no ornita,
         modlique o abrel/le ninguna parte del nombre del DOlldor) 1 CHANGED OR ADDED INFORMATION: Complete tor A,mgnmonter Parly Wo,mation Change - provide onlylllJ!I. name (la or7b) (usa e,acf.
         furl name' do not o11llt modify or abl1reviate any pa,t of the Ol;btor"s name)
          7a. NOMBRE DE ENTIDAD I ORGANIZATION'S NAME

     OR
           7b. APELLIDD I INDIVIDUAL'S SURNAME!


               NOMBRE /INDIVIDUAL'S FIRST PERSONAL NAME



               SEGUNDO NOMBRE I INDIVIDUAL'S ADDITIONAL NAME                                                                                                                                                   SUFIJO
                                                                                                                                                                                                               SUFFIX

     7c. DIRECCION POSTAL/ MAILING ADDRESS                                                  ICIUDAD I CITY                                                 I             I
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     8. [Z]CAMBIO DE COLATERAL: Tambienrnarque.Y!l!.delascu.alroaltematlvas: D AGREGA colateral _LJ ELIMINA colateral                              0 REFORMULA colateral cubierta                   LJ CEDE colateral
                                                                               ADD collateral                          DELETE ooJfatera/                 RESTATE covered collateral                      ASSfGN collateral
              COLLATERAL CHANGE: AJw check .Q:!1§: of these ki-ur boxes:
              lndique colateral: I Indicate collateral:
              Pursuant to the Loan Agreement and the Assignment and Security Agreement, both dated August 28, 2013, as amended from
              time to time, and executed between the Debtor and Secured Party herein, this Financing Statement covers all revenues allocated
              to the Puerto Rico Highways and Transportation Authority ("PRHTA"J by Acts No. 30 and 31 approved by the Legislature of the
              Commonwealth of Puerto Rico on June 25, 2013, which shall be junior, inferior and subordinate in all respects to the outstanding
              bonds of the PRHTA issued pursuant to Iii Resolution No. 98-06, adopted by the PRHTA on February 26, 1998, as amended, and
              (ii) Resolution No. 13-41, adopted by the PRHTA on August 28, 2013.


     9. NOMBRE DE ACREEDOR GARANTIZADO EN RECORD AUTORIZANDO ESTA ENMIENDA: ProveasoloY.Qnornb,e(9ao9bJ(nombcede
          Cedente, si es una Ce.si6n) Si esto es una Enmienda autorizada po.rel Deudo-r, marque aqui     IZ] y provea el nombre del Oeudor autorizante
          NAMP. OF SECURED PARTY OF RECORD AUTHORJZJNG THIS AMENDMENT: Provide Mly ~ rtame {9.a or 9b) (name of Assignor, if this is an Assignment) If this is an
          Amendment authorized by a DEBTOR, check here         O and provide name of atJthorizing Debtor
           9a. NOMBRE DE ENTIDAD f ORGANIZATION'S NAME
               Government Development Bank for Puerto Rico (GDB)
     ORl------------------------~--------------~---------------
           9b. APELLIDO I fNDIV/DUAL'S SURNAME                                               NOMBRE / FIRST PERSONAL NAME                                   SEGUNDO NOMBRE 1 ADDITIONAL                        SUFIJO
                                                                                                                                                            NAME                                               SUFFIX

     10. DATOS OPCIONALES DE REFERENCIA PARA PRESENTANTE: I OPTIONAL FILER REFERENCE DA TA:



    COPIA OFICINA DE REGISTRO -                       ENMIENDA DE DECLARACION DE FINANCIAMIENTO (Forma UCC3PR) (Rev. 05111114)




                                                                                                                                                                                                                                          DS-053847
